                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

    JAMES JILEK, et al., on behalf of himself    )
    and all others similarly situated,           )
                                                 )
                 Plaintiff,                      )
                                                 )
          vs.                                    )        Case No. 3:23-cv-00818-RJC-DCK
                                                 )
    COMPASS GROUP USA, INC., D/B/A               )
    Canteen                                      )
                                                 )
                 Defendant.                      )
                                                 )

                            MOTION FOR HEARING ON
                  PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

         Defendant Compass Group USA, Inc. d/b/a Canteen (“Compass”) respectfully requests

that the Court convene a hearing on Plaintiff James Jilek’s (“Plaintiff”) pending Motion for Class

Certification.1 (Doc. No. 293.)

         For the reasons set forth in the contemporaneously filed Memorandum in support of this

Motion, Compass submits that good cause exists for this Court to direct oral argument and

respectfully requests the opportunity to be heard at a hearing on Plaintiff’s Motion for Class

Certification.




1
  In accordance with LCvR 7.1(b), undersigned counsel conferred with Plaintiff’s counsel
regarding the relief sought through this Motion and requested that Plaintiff join with Compass in
bringing this Motion. Plaintiff’s counsel declined to join in this Motion.


                                             1
     Case 3:23-cv-00818-JAG-DCK          Document 317        Filed 07/30/24      Page 1 of 3
Dated: July 30, 2024              Respectfully submitted,



                                By: /s/ Joseph C. Wylie II
                                  Joseph C. Wylie II, 6270852IL (Pro Hac Vice)
                                  Nicole C. Mueller 6309735IL (Pro Hac Vice)
                                  Kenn Brotman 6236771IL (Pro Hac Vice)
                                  K&L GATES LLP
                                  70 West Madison Street, Suite 3300
                                  Chicago, IL 60602-4207
                                  Tel: (312) 372-1121
                                  Fax: (312) 827-8000
                                  joseph.wylie@klgates.com
                                  Nicole.Mueller@klgates.com
                                  Kenn.Brotman@klgates.com

                                  Paul W. Sweeney Jr., 112511CA (Pro Hac Vice)
                                  K&L GATES LLP
                                  10100 Santa Monica Blvd., 8th Floor
                                  Los Angeles, CA 90067
                                  paul.sweeney@klgates.com

                                  Marla T. Reschly
                                  N.C. Bar Number 46706
                                  Daniel D. McClurg
                                  N.C. Bar Number 53768
                                  K&L GATES LLP
                                  300 South Tryon Street, Suite 1000
                                  Charlotte, NC 28202
                                  Phone: (704) 331-7400
                                  Fax: (704) 331-7598
                                  Email: marla.reschly@klgates.com
                                         daniel.mcclurg@klgates.com

                                  Attorneys for Compass Group USA, Inc.




                                    2
   Case 3:23-cv-00818-JAG-DCK   Document 317     Filed 07/30/24    Page 2 of 3
                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Court via the Court’s CM/ECF system on July 30, 2024, which will serve all

counsel of record.


                                                   /s/ Joseph C. Wylie II
                                                  Joseph C. Wylie II




                                            3
   Case 3:23-cv-00818-JAG-DCK           Document 317       Filed 07/30/24    Page 3 of 3
